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   1 SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
     RONALD J. HOLLAND, Cal. Bar No. 148687
   2
     rholland@sheppardmullin.com
   3 ELLEN M. BRONCHETTI, Cal. Bar No. 226975
     ebronchetti@sheppardmullin.com
   4
     MATTHEW C. LEWIS, Cal. Bar No. 274758
   5 malewis@sheppardmullin.com
     JOHN-PAUL S. DEOL, Cal. Bar No. 284893
   6
     jdeol@sheppardmullin.com
   7 Four Embarcadero Center, 17th Floor
     San Francisco, California 94111-4109
   8
     Telephone: 415.434.9100
   9 Facsimile: 415.434.3947
  10 Attorneys for Defendant
     IRWIN INDUSTRIES, INC.
  11
                      UNITED STATES DISTRICT COURT FOR THE
  12
                         CENTRAL DISTRICT OF CALIFORNIA
  13
  14 CARL CURTIS, an individual;             Case No. 2:15-cv-02480-ODW
     ARTHUR WILLIAMS, an individual,
  15
                  Plaintiffs,                MEMORANDUM OF POINTS AND
  16                                         AUTHORITIES IN SUPPORT OF
           v.                                DEFENDANT IRWIN
  17
     IRWIN INDUSTRIES, INC. a                INDUSTRIES, INC.’S OPPOSITION
  18 California corporation; and DOES 1      TO PLAINTIFFS’ MOTION TO
     through 100, inclusive,                 ALTER OR AMEND JUDGMENT,
  19
                  Defendant.                 OR IN THE ALTERNATIVE,
  20                                         MAKE ADDITIONAL FINDINGS
  21
                                             Date: January 11, 2016
  22                                         Courtroom 11
  23                                         Time: 1:30 pm
                                             Judge: Otis D. Wright, II
  24
  25                                         [Complaint Filed: February 17, 2015]
  26
  27
  28

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   1                                   I.     INTRODUCTION
   2           Plaintiffs improperly bring this Motion to Alter or Amend the Judgment, or in
   3 the alternative, to Make Additional Findings (“Motion”) in an attempt to challenge
   4 this Court’s reasoned Order Granting Defendant’s Motion to Dismiss (“Order”),
   5 entered on November 12, 2015. The Order properly granted Defendant’s Motion to
   6 Dismiss Plaintiffs’ First Amended Complaint Pursuant to Fed. R. Civ. P. 12(b)(6)
   7 (“Motion to Dismiss”).
   8           As a preliminary matter, Plaintiffs’ Motion is procedurally improper because it
   9 violates Local Rule 7-18. Local Rule 7-18 allows motions for reconsideration to be
  10 filed in only three limited circumstances, none of which are found here. Even
  11 assuming, for the sake of argument, that Plaintiffs do not violate Local Rule 7-18,
  12 their Motion will fail because it does nothing more than rehash arguments already
  13 made in Plaintiffs’ Opposition to Defendant’s Motion to Dismiss Plaintiffs’ First
  14 Amended Complaint Pursuant to Fed. R. Civ. P. 12(b)(6) (“Opposition”).
  15           Plaintiffs’ Motion will also fail because it fails to challenge in any meaningful
  16 way this Court’s dismissal of Plaintiffs’ claims under Section 301 of the Labor
  17 Management Relations Act. Plaintiffs’ argument that the Court was not specific in
  18 stating which claims it dismissed is belied by the fact that the Court dismissed and
  19 closed the entire case.
  20           Plaintiffs’ Motion raises no new law, facts, or issues. It is a repetitive
  21 restatement of the arguments made in their Opposition and already rejected by the
  22 Court. Because the Motion is procedurally improper, raises no new issues, and
  23 merely restates already failed arguments, Defendant respectfully requests that the
  24 Court summarily deny Plaintiffs’ Motion in its entirety.
  25                                    II.    BACKGROUND
  26           On February 17, 2015, Plaintiffs, individually and on behalf of all persons
  27 similarly situated filed a Complaint in the Superior Court of California, County of
  28 Santa Barbara, entitled: Curtis et al. v. Irwin Industries, Inc., and Does 1 through 100.

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   1 In the original Complaint, Plaintiffs alleged the following six causes of action: (1)
   2 Minimum Wage Violations; (2) Pay Stub Violations; (3) Unfair Competition; (4)
   3 Failure to Timely Pay Final Wages; (5) Failure to Provide Lawful Meal Periods; and
   4 (6) Failure to Pay Overtime and Double-time Premium Wages.
   5           Defendant timely removed the action to this Court on April 3, 2015. After
   6 removing this action, on April 9, 2015 Defendant was served with Plaintiffs’ First
   7 Amended Complaint (“FAC”), which had been filed in state court on April 1, 2015.
   8 In their FAC, Plaintiffs added “rest breaks” to their Fifth Cause of Action and added a
   9 Seventh Cause of Action seeking civil penalties under the Private Attorneys General
  10 Act of 2004 (“PAGA”).
  11           As mentioned in Defendant’s Motion to Dismiss, at all relevant times during
  12 their employment with Defendant, both Plaintiffs—Carl Curtis and Arthur Williams
  13 were members of United Steel, Paper and Forestry, Rubber, Manufacturing, Energy,
  14 Allied Industrial and Service Workers International Union, Local 1945 (the “Union”
  15 or “USW”). The terms and conditions of both Plaintiffs’ employment were governed
  16 by the CBAs between Defendant and USW. The CBAs contain a broad arbitration
  17 provision requiring arbitration of any allegation by the Union of violation of “any of
  18 the terms of [the agreements].” (Motion to Dismiss, pp. 3-4.) The CBAs also contain
  19 a targeted, specific arbitration provision, requiring grievance and arbitration of “[a]ny
  20 alleged violation of [Wage Order 16 or] any applicable wage order,” thereby aimed
  21 directly at Plaintiffs’ claims here. (Id.)
  22           On May 29, 2015, Defendant filed a Motion to Dismiss based on two principal
  23 theories: (1) that Plaintiffs’ claims were preempted under Section 301 of the LMRA
  24 and (2) that Plaintiffs failed to state a claim upon which relief could be granted
  25 because, under the Outer Continental Shelf Lands Act (“OCSLA”), state law does not
  26 provide a remedy for Plaintiffs, all of whom worked on the Outer Continental Shelf.
  27           On November 12, 2015, the Court issued its five-page Order dismissing
  28 Plaintiffs’ claims in their entirety. The Order stated that Plaintiffs’ claims were

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   1 preempted under Section 301 of the LMRA, as the Court would have had to “interpret
   2 and possibly construct the CBAs.” (Order, p. 5.) As the Court had already dismissed
   3 the case on preemption grounds, it did not reach Defendant’s OCSLA argument. A
   4 month after the Court issued its Order, on December 10, 2015, Plaintiffs filed this
   5 Motion under Fed. R. Civ. P. 59(e) and 52(b) challenging the Court’s ruling and
   6 attempting to re-litigate the merits of Defendant’s Motion to Dismiss.
   7                                       III.   ARGUMENT
   8 A.        Plaintiffs’ Motion is Procedurally Improper.
   9           This Court’s Order dismissing Plaintiffs’ claims under Fed. R. Civ. P. 12(b)(6)
  10 was clear and unambiguous. It requires no reconsideration, clarification, or
  11 amendment. Plaintiffs’ Motion improperly accuses the Court of committing a
  12 “manifest error of law” simply because Plaintiffs are unhappy with the result. Despite
  13 their accusation, Plaintiffs simply rehash the same arguments made in their
  14 Opposition to Defendant’s Motion to Dismiss.
  15           1.         Plaintiffs Motion Does Not Comply with Local Rule 7-18.
  16           As a preliminary matter, Plaintiffs violate Local Rule 7-18 in bringing this
  17 Motion. Local Rule 7-18 governs motions for reconsideration and states:
  18           A motion for reconsideration of the decision on any motion may be made
               only on the grounds of (a) a material difference in fact or law from that
  19
               presented to the Court before such decision that in the exercise of
  20           reasonable diligence could not have been known to the party moving for
               reconsideration at the time of such decision, or (b) the emergence of new
  21
               material facts or a change of law occurring after the time of such
  22           decision, or (c) a manifest showing of a failure to consider material facts
               presented to the Court before such decision. No motion for
  23
               reconsideration shall in any manner repeat any oral or written argument
  24           made in support of or in opposition to the original motion.
  25
  26           The grounds asserted in the Motion do not fall within any of the provisions of
  27 Local Rule 7-18, and thus the Motion is wholly improper. Plaintiffs do not assert a
  28 material difference in fact or law from that which was presented to the Court. They

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   1 do not assert new material facts or a change of law after the Court’s decision. Finally,
   2 they do not assert a manifest failure to consider material facts presented to the Court.
   3 Instead, in clear violation of the Local Rule, Plaintiffs repeat the same arguments they
   4 made in opposition Defendant’s original Motion to Dismiss. Plaintiffs’ Motion can
   5 be denied on this basis alone.
   6           2.         Plaintiffs Fail to Meet Their Burden to Demonstrate That the Court
                          Committed a Manifest Error of Law.
   7
   8           Even assuming, for the sake of argument, that Plaintiffs are not barred by the
   9 Local Rules from bringing this Motion, the grounds stated do not satisfy Plaintiffs’
  10 heavy burden to demonstrate that the Court committed a manifest error of law. A
  11 motion under Fed. R. Civ. P. 59(e) is an “extraordinary remedy, to be used sparingly
  12 in the interests of finality and conservation of judicial resources.” Carroll v.
  13 Nakatani, 342 F.3d 934, 945 (9th Cir. 2003) (internal quotation marks omitted). “A
  14 motion for reconsideration should not be granted, absent highly unusual
  15 circumstances.” Id. Courts avoid considering Rule 59(e) motions where the grounds
  16 are restricted to repetitive matters which were before the court on its prior
  17 consideration. Costello v. U.S. Gov’t, 765 F. Supp. 1003, 1009 (C.D. Cal. 1991).
  18 Here, Plaintiffs have done nothing more than repeat the same arguments made in their
  19 opposition to Defendant’s Motion to Dismiss.
  20           To the extent Plaintiffs’ Motion also requests relief under Fed. R. Civ. P. 52(b),
  21 that request is similarly improper. Under Fed. R. Civ. P. 52(a)(3), federal district
  22 courts are “not required to state findings or conclusions when ruling on a motion
  23 under Rule 12 or 56 or, unless these rules provide otherwise, on any other motion.”
  24 In ruling on Defendant’s Motion to Dismiss under Fed. R. Civ. P. 12(b)(6), the Court
  25 went above and beyond its obligations by authoring a five-page order stating its
  26 findings and conclusions and explicitly dismissing each and every one of Plaintiffs’
  27 claims. Not satisfied with the Court’s effort in going above and beyond its
  28

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   1 obligations, Plaintiffs now ask the Court to do something it was never required to do
   2 in the first place.
   3 B.        The Court Was Correct in Ruling that Plaintiffs’ Claims Were Preempted
               Under Section 301 of the LMRA.
   4
               1.         Plaintiffs’ Claims Require Interpretation of the Applicable CBAs.
   5
   6           Plaintiffs do nothing more in their moving papers than condense the flawed
   7 arguments made in their Opposition to Defendant’s Motion to Dismiss. They again
   8 argue that Plaintiffs’ claims are not preempted by Section 301 of the LMRA because,
   9 according to Plaintiffs, claims ostensibly brought under the Labor Code can never be
  10 preempted.
  11           For the second time, Plaintiffs ignore Defendant’s arguments that their claims
  12 require interpretation of the CBAs, and instead proceed as if it is assumed their claims
  13 are exclusively statutory causes of action brought under the Labor Code. At no point
  14 do Plaintiffs dispute Defendant’s arguments that their claims are “founded directly on
  15 rights created by,” and require interpretation of, the CBAs. See, e.g., Hayden v.
  16 Reickerd, 957 F.2d 1506, 1509 (9th Cir. 1991).
  17           Plaintiffs’ claims are nothing more than artfully pled claims for breach of a
  18 CBA which is subject to preemption under Section 301 of the LMRA. See 29 U.S.C.
  19 § 185; Avco Corp. v. Machinists, 390 U.S. 557, 559–60 (1968) (a claim or cause of
  20 action seeking to remedy an alleged violation of a collective bargaining agreement is
  21 subject to Section 301 of the LMRA). Accordingly, Plaintiffs’ claims are not subject
  22 to a court action. See Avco Corp. v. Machinists, 390 U.S. 557, 561 (1968) (finding
  23 when a claim is preempted by Section 301, an employee’s remedy lies within the
  24 CBA).
  25           In arguing that Plaintiffs’ claims are Labor Code claims that cannot be
  26 preempted, they cite the same three cases already mentioned in their Opposition to
  27 Defendant’s Motion to Dismiss, and more importantly, already considered and cited
  28 by the Court in its Order dismissing Plaintiffs’ claims. After reviewing Balcorta v.

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   1 Twentieth Century-Fox Film Corp., 208 F.3d 1102 (9th Cir. 2000), Livadas v.
   2 Bradshaw, 512 U.S. 107 (1994), and Allis-Chalmers Corp. v. Lueck, 471 U.S. 202
   3 (1985), the Court explained that it could not merely “look at” the CBAs, but that it
   4 must “interpret and possibly construct [them].” (Order, p. 5.) The Court’s rejection of
   5 Plaintiffs’ argument, using the same cases they cited in support of their position,
   6 could not be clearer.
   7           The California Courts of Appeal agree with the Court’s analysis here. For
   8 example, in Levy v. Skywalker Sound, Levy alleged two claims against his employer
   9 for violations of the California Labor Code, one for unpaid wages under Labor Code
  10 sections 204, 218, 222, and 223, and another alleging that his employer violated
  11 Labor Code section 970 by making misrepresentations to induce him to move from
  12 Los Angeles to Marin County for work. 108 Cal. App. 4th 753,768 (2003). The
  13 court held that Levy’s statutory claims “[could not] be adjudicated without
  14 determining the meaning of the CBA.” Id. First, Levy’s claim for unpaid wages
  15 required the court to look to the CBA and side letters to determine whether he was
  16 “entitled to receive wages at the union rate.” Id. at 769. His second claim similarly
  17 required interpretation of the CBA to determine whether he was eligible to work in
  18 certain areas of Skywalker Sound, given his allegation that the company had made
  19 false promises about where at the company he would be eligible to work. Id. at 770.
  20 The court also held that calculation of the amount of damages, if any, for Skywalker
  21 Sound’s violation of Labor Code section 970 “would depend on whether or not Levy
  22 was entitled to union level wages.” Id.
  23           Dep’t of Fair Employment & Hous. v. Verizon Cal., Inc., 108 Cal. App. 4th 160
  24 (2003) is similarly on point. The plaintiff in that case, Denise Harris, sued Verizon
  25 under the California Family Rights Act alleging that she was not paid for the full
  26 twelve weeks of leave to which she claimed entitlement. Id. at 163. Verizon’s position
  27 was that Harris needed to provide a medical report from an orthopedist or neurologist
  28 showing total incapacitation. Id. It based its position on the following language in the

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   1 CBA covering Harris: “Management will reserve the right to investigate any case of
   2 disability due to illness, injury or other cause, for which benefits are requested, and in
   3 its sole discretion may require an opinion from a physician other than the one in
   4 regular attendance, or a statement from the physician in regular attendance and the
   5 payment of benefits will be governed by such investigation and opinion.” Id. at 169-
   6 70. The issue in the case was whether that provision of the CBA actually required her
   7 to submit a report specifically from an orthopedist or neurologist, which she did not
   8 do. Id. at 170. The Court of Appeal held that, because the court was required to
   9 interpret the meaning and scope of the CBA provision, Harris’ statutory claim should
  10 have been dismissed by the trial court as it was preempted by the LMRA. Id. at 172.
  11 California state courts therefore equally agree that claims requiring interpretation of a
  12 CBA are preempted by Section 301 of the LMRA.
  13           2.         The Court Properly Dismissed Each and Every One of Plaintiffs’
                          Claims.
  14
                          a.   Each of Plaintiffs’ Substantive Claims Were Properly
  15                           Dismissed.
  16           Plaintiffs strangely take issue with the fact that the Court did not spell out,
  17 claim by claim, which causes of action were dismissed, again rehashing the same
  18 arguments and same cases cited in their Opposition to the Motion to Dismiss. The
  19 Court did not need to spell out each claim because it was obvious that “[all of]
  20 Plaintiffs’ claims are preempted.” (Order, p. 4.) Nevertheless, Plaintiffs again assert
  21 the same argument already rejected by the Court that Section 301 of the LMRA does
  22 not preempt their claims because certain Labor Code sections are not explicitly
  23 mentioned by code section in the applicable CBAs. This argument is essentially
  24 moot, given that the Court dismissed Plaintiffs’ claims because they required
  25 interpretation of the CBAs. Nevertheless, there is no requirement that a particular
  26 code section be explicitly mentioned in a CBA to trigger preemption.
  27           None of Plaintiffs’ authorities, all of which were already discussed in their
  28 Opposition to the Motion to Dismiss, are on point. Plaintiffs again cite Wright v.

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   1 Universal Maritime Serv. Corp., 525 U.S. 70 (1998), and argue it provides a CBA
   2 must expressly and specifically mention the specific statute at issue. But Wright does
   3 not do so. Wright simply held that the CBA at issue included only a “very general”
   4 provision for “arbitration of ‘matters under dispute,’” and such a broad provision was
   5 not “clear and unmistakable.” Id. at 80. The Wright CBA did not contain the type of
   6 targeted provisions contained in Defendant’s CBAs.
   7           Plaintiffs also cite the unpublished case of Martinez v. J. Fletcher Creamer &
   8 Son, Inc., 2010 WL 3359372 (C.D. Cal. Aug. 13, 2010), for the proposition that
   9 incorporation by reference of Wage Order 16 does not constitute a clear and
  10 unmistakable agreement to arbitrate statutory disputes. Plaintiffs misunderstand the
  11 applicable California and federal law. As discussed at length in Defendant’s Motion
  12 to Dismiss, Wage Order 16 covers all of Plaintiffs’ claims, and the CBAs’ arbitration
  13 agreement—which incorporates the Wage Order—accordingly requires arbitration of
  14 all of Plaintiffs’ claims. (Motion to Dismiss, pp. 11-13.) Whereas the CBA at issue
  15 in Martinez only incorporates Wage Order 16, the CBAs here also contained multiple
  16 references to California law. Martinez is therefore inapposite.
  17                      b.   Plaintiffs’ PAGA Claim Was Properly Dismissed.
  18           Plaintiffs argue that, under Iskanian v. CLS Transp. Los Angeles, 59 Cal.4th
  19 348 (2014), their PAGA claim is not subject to arbitration. But Iskanian, a California
  20 Supreme Court decision, is not binding on federal courts. In Fardig v. Hobby Lobby
  21 Stores, Inc., 2014 WL 4782618, *4 (C.D. Cal. Aug. 11, 2014), the court noted it was
  22 “not bound by the California Supreme Court’s understanding of federal law.”
  23 Further, Plaintiffs’ argument would effectively bar a collective bargaining agreement
  24 including an agreement to arbitrate state statutory claims—an outcome that is flatly
  25 prohibited by the United States Supreme Court. 14 Penn Plaza v. Pyett, 556 U.S. 247,
  26 257 (2009) (approving union’s right to enter into an agreement to arbitrate statutory
  27
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   1 claims “in a collective bargaining agreement in return for other concessions from the
   2 employer”).1
   3 C.        The Court Ordered that the Claims Be Arbitrated Pursuant to the Terms
               of the CBAs.
   4
   5           Plaintiffs seem to argue that the Court ordered Plaintiffs to arbitrate their
   6 claims individually. It did not. The Order states, “The Court . . . ORDERS that the
   7 parties shall proceed to arbitration pursuant to the terms of the CBAs.” (Order, p. 5,
   8 emphasis added.) The Court clearly intended that Plaintiffs seek the Union’s
   9 representation in filing a grievance (and a subsequent request for arbitration, if
  10 necessary) pursuant to the terms of the CBAs, and not that Plaintiffs proceed directly
  11 to filing a demand for arbitration, which is not contemplated under the terms of the
  12 CBAs at issue. As discussed in Defendant’s Motion to Dismiss, the CBAs provide
  13 only for grievances to be filed by the Union on behalf of an aggrieved employee.
  14 (Motion to Dismiss, p. 9.)
  15           The case law makes clear that Plaintiffs have no standing to pursue their claims
  16 in arbitration directly. For example, in Nash v. United Parcel Serv., Inc., 2012 WL
  17 1253109, at *1 (C.D. Cal. Apr. 13, 2012), the court held that, as a general rule, an
  18 employee whose claims are to be arbitrated under a collective bargaining agreement
  19 between a union and employer has no standing to bring an action to vacate the
  20 arbitration award, since the employee was not a party to the contract under which the
  21 arbitration proceeded. Id. Similarly, in Melander v. Hughes Aircraft Co., 194 Cal.
  22 App. 3d 542, 544 (1987), the California Court of Appeal held that “when an
  23
  24   1
         Sakkab v. Luxottica Retail N. Am., Inc., 803 F.3d 425 (9th Cir. 2015), cited by
  25   Plaintiffs in their Motion at p. 6, has no bearing on the merits of Defendant’s
       preemption argument. Sakkab dealt with a PAGA claim as it related to the Federal
  26
       Arbitration Act, not with regard to Section 301 of the LMRA. Id. at 432.
  27   Furthermore, the case was decided one and a half months before this Court issued its
       Order. It is not new law, and the Court was presumably aware of it, but agreed that it
  28
       was inapposite.
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   1 employee grievance is arbitrated under the terms of a collective bargaining agreement
   2 (CBA) between an employer and a union, the individual employee does not have
   3 standing to petition to vacate the award unless the CBA contains a provision
   4 expressly giving employees themselves the right to submit disputes to
   5 arbitration.” For the same reasons that Plaintiffs would not be able to challenge an
   6 arbitration ruling were their claims properly submitted to arbitration by the Union,
   7 they cannot arbitrate their own claims without representation by the Union.
   8           As to Plaintiffs’ argument that there is a “general mistrust of arbitration as an
   9 adequate forum” (Motion, p. 6), this is simply not true. The courts have consistently
  10 recognized the broad scope of Section 301 preemption. “The preemptive force of
  11 Section 301 is so powerful that it displaces entirely any state cause of action for
  12 violation of a collective bargaining agreement . . . and any state claim whose outcome
  13 depends on analysis of the terms of the agreement.” Newberry v. Pacific Racing
  14 Ass’n, 854 F.2d 1142, 1146 (9th Cir. 1988) (citing IBEW v. Hechler, 481 U.S. 851,
  15 859 (1987)). Under both California and federal law, “any doubts concerning the
  16 scope of arbitrable issues should be resolved in favor of arbitration . . . .” Moses H.
  17 Cone Hospital v. Mercury Constr. Corp., 460 U.S. 1, 24, 26, n. 32 (1983); Brockwood
  18 v. Bank of America, Nat’l Trust & Savings Ass’n, 45 Cal. App. 4th 1667, 1671 (1996).
  19 Plaintiffs bear the burden to show that that arbitration of their claims is not
  20 appropriate. See Gilmer v. Interstate/Johnson Lane Corp., 500 U.S. 20, 26 (1991).2
  21
  22   2
         Plaintiffs’ reliance on Barrentine v. Arkansas-Best Freight Sys., Inc., 450 U.S. 728
  23   (1981), for the proposition that the courts do not trust arbitration for claims involving
       rights “arising out of a statute designed to provide minimum substantive guarantees”
  24
       (Motion, p. 7), misses the crucial point that the Fair Labor Standards Act claims
  25   asserted in that case were “independent of the collective-bargaining process.” Id. at
       728. Here, Plaintiffs’ claims involve interpretation of the CBAs and therefore are not
  26
       subject to a court action. Neither Alexander v. Gardner-Denver, 415 U.S. 36 (1974),
  27   nor Gilmer v. Interstate/Johnson Lane Corp., 500 U.S. 20, 24 (1991), the two other
       cases cited by Plaintiffs in support of their argument, dealt with claims requiring
  28
       interpretation of the CBAs.
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   1 D.        The CBAs Are Not Unconscionable.
   2           Plaintiffs repeat their argument that the CBAs’ arbitration procedures are
   3 unenforceable because they require grievances to be filed within thirty days. But
   4 courts have rejected similar arguments—as Plaintiffs’ argument should be rejected.
   5 See United Ass’n Local Union No. 26 v. Big Rooter/Nelson Plumbing & Mech., Inc.,
   6 2011 WL 130335, at *5 (W.D. Wash. Jan. 14, 2011) (seven-day limit on filing
   7 grievances is not unconscionable).
   8           Plaintiffs’ citation to Zaborowski v. MHN Government Service, Inc., 936 F.
   9 Supp 2d 1145 (N.D. Cal. 2013), is not on point. Zaborowski dealt with the shortening
  10 of the statute of limitations for bringing a claim directly in arbitration. The grievance
  11 procedure is much simpler than bringing a proceeding directly in arbitration. See
  12 United Ass’n Local Union No. 26, 2011 WL 130335, at *5 (noting that the grievance
  13 process is not complex). Despite Plaintiffs’ attempt, they cannot point to any case
  14 supporting their contention that the CBAs, negotiated and entered into by the Union,
  15 are unconscionable.
  16 E.        Plaintiffs’ State Law Claims Have No Force or Effect Under OCSLA And
               Therefore Fail to State a Claim Upon Which Relief May Be Granted.
  17
  18           The Court’s decision not to address the applicability of the OCSLA in its Order
  19 is further evidence that all of Plaintiffs’ claims were dismissed as preempted under
  20 Section 301 of the LMRA. To the extent Plaintiffs again attempt to argue that state
  21 law independently governs the terms and conditions of employment on the Outer
  22 Continental Shelf, they are still incorrect. Under Continental Oil Co. v. London S.S.
  23 Owners’ Mut. Ins. Assoc., 417 F.2d 1030, 1036 (5th Cir. 1969), state law is adopted
  24 on the Outer Continental Shelf only where necessary “to fill a significant void or gap”
  25 in federal law. Continental Oil unequivocally rejected the argument that the OCSLA
  26 “exports the whole body of adjacent law onto the Outer Continental Shelf for
  27 automatic application to any and all occurrences.” Id. at 1035. Plaintiffs cite no case
  28 in their Motion contradicting Continental Oil or otherwise supporting their argument

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   1 that California law applies on the Outer Continental Shelf under the circumstances
   2 presented in this case. As such, Plaintiffs have failed to state a claim upon which
   3 relief can be granted.
   4                                    IV.   CONCLUSION
   5           For all of the foregoing reasons, the Court’s Order was unambiguous, correct,
   6 and needs no clarification. As such, Defendant respectfully requests that Plaintiffs’
   7 Motion be denied in its entirety. Plaintiffs’ Motion merely seeks to draw out this
   8 litigation for as long as possible and request that the Court reconsider its reasoned
   9 ruling simply because Plaintiffs are unhappy that their case has been dismissed.
  10 Plaintiffs cite no new law, facts, or reasons why the Court should modify its Order in
  11 any way. To the extent the Court considers amending its Order, Defendant
  12 respectfully requests leave to file additional briefing to further address the substantive
  13 merits of Plaintiffs’ arguments.
  14
  15 Dated: December 21, 2015          SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
  16
                                        By                  /S/
  17                                          RONALD J. HOLLAND
                                              ELLEN M. BRONCHETTI
  18
                                              MATTHEW C. LEWIS
  19                                          JOHN-PAUL S. DEOL
                                  Attorneys for Defendant, IRWIN INDUSTRIES, INC.
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